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GREGORY J. MARCINSKI, JR.
Register No. 12582“050

Federal Correctional lnstitution
P.Os Box 1000 y

Otisville, NY 10963¢1000

Plaintiff, pro §§

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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GREGORY Ja MARCINSKI, JRa )
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Plaintiff,

 

V.

EXPERIAN lNFORMATlON

SOLUTIONS, INC., [Jury Trial Demanded]

Defendant.

 

Plaintiff Gregory J. Marcinski, Jra ("Plaintiff"), pro §§,
for his 'complaint against Defendant Experian' Information
Solutions, Inc. ("Defendant"), states and alleges the follows:

INTRODUCTION

1. This is a lawsuit seeking redress under the Fair Credit
Reporting Act ("FCRA"), 15 U.S.Ca § 1681, et §§3; for unlawful
credit practices6

JURISDICTION AND VENUE

 

261 The Court has jurisdiction over the parties to this
action and the subject matter thereof under 15 UIS.C. § 1681p and
28 U¢S.C. § 1331a

3. Venue is proper because the Defendant maintains its
corporate headquarters and conducts business within the district.

PARTIES
46 Plaintiff is a natural person and

Otisville, New Yorl<6

 

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5a Defendant is an Ohio corporation that maintains its

corporate headquarters in Costa Mesa, Californiaa

 

FACTS
63 Plaintiff is a "consumer" as defined in the FCRAa
76 Defendant is a "credit reporting agency" as defined in
the FCRAi
8a Defendant compiles and maintains credit information

about consumers throughout the United Statesa As part of its
business operations, Defendant prepares and furnishes credit
reports on consumers to creditors and other authorized partiesi

9s On May 4, 2012, Defendant provided Plaintiff with a
copy of his credit report. Said report contained information
indicating Plaintiff established credit card accounts with
Merrick Bank in May 2006 and RBS Citizens Bank in September 2007,
that delinquent balances were owed on each account, and that
there was an open collection account with Portfolio Recovery
Associates for a delinquent balance owed on an HSBC Bank Nevada
credit card account (hereafter referred to collectively as "the
accounts").

10. Plaintiff was incarcerated when the accounts were
opened5 Plaintiff did not open the accounts, did not authorize
anyone to do so on his behalf, and did not incur any charges to
the accounts.

11s On or about February 1, 2013, Plaintiff transmitted a
request for investigation to Defendant in which he disputed that
he was responsible for the accounts. Plaintiff further advised

Defendant that he was a victim of identity theft and was

 

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incarcerated when the accounts were opened.

12. On February 14, 2013, Defendant advised Plaintiff that
because the disputed information had been previously
investigated, his current request for investigation would not be
processed unless he were to provide additional relevant
information not presented previouslys

13i On March 7, 2013, Plaintiff sent a detailed letter to
Defendant explaining the basis for his disputes and included
various documentation not previously presented to establish that
he was incarcerated when the accounts were opened and used.

14. On March 20, 2013, Defendant provided Plaintiff with a
copy of his credit report which showed a temporary "fraud alert"
had been added. Defendant did not otherwise respond to
Plaintiff's March 7, 2013 letter, nor did it investigate his
disputes of the accounts.

15. The accounts were eventually removed from Plaintiff's
credit file by the reporting creditors.

COUNT l

16a Plaintiff realleges and incorporates paragraphs 1
through 15 as if fully set forth hereina

17a Defendant has a duty under 15 USS.,Ca § 1681i(a)(1) to
conduct a reasonable investigation of a dispute by a consumer as
to the accuracy of information appearing in their credit reports

18. Defendant breached its duty under 15 U.S.C. §
1681i(a)(1) by failing to conduct a reasonable investigation of
Plaintiff's disputes submitted on or about February 1, 2013 and
March 7, 2013a

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19i As a direct and proximate result of Defendant'S
unlawful conduct, Plaintiff suffered damages including, but not
limited to, lowered credit score, damage to credit reputation,
loss of credit opportunity, financial loss, and emotional
distress.

WHEREFORE, Plaintiff respectfully moves for judgment in his
favor and the following:

a. Actual damages in an amount determined at trial
pursuant to 15 U.S.Ca § 1681n(a)(1)(A) or, in the alternative, 15
U‘S.Ca § 16810(a)(1);

bi Punitive damages in an amount determined at trial

pursuant to 15 UaSeCB § 1681n(a)(2);

c. ' Attorney's fees and costs incurred pursuant to 15
U.s.c. § ieain(a>(a) and/or 15 U.sic; § 16810(3>(2); ana
d, Any further relief deemed just and proper by the Court.
COUNT ll

20. Plaintiff realleges and incorporates paragraphs 1
through 15 as if fully set forth herein.

216 Defendant has a duty under 15 U.S.Ca § 1681e to
maintain reasonable procedures to assure the maximum possible
accuracy of the information concerning the individual about whom
a credit report is prepared.

224 Defendant breached its duty under 15 U.S.C. § 1681e by
failing to maintain reasonable procedures to assure the accuracy
of Plaintiff's credit report, where Defendant included inaccurate
information therein indicating Plaintiff opened accounts` and

incurred delinquent balances with Merrick Bank, RBS Citizens

 

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Bank, and Portfolio Recovery Associates, but Plaintiff did not
open the accounts, nor incur the delinquent balances, and
provided notice of same and supporting documentation to
Defendant. §

23. As a direct and proximate result of Defendant's
unlawful conduct, Plaintiff suffered damages including, but not
limited to, lowered credit score, damage to credit reputation,
loss of credit opportunity, financial loss, and emotional
distress.

WHEREFORE, Plaintiff respectfully moves for judgment in his
favor and the following:

a. Actual damages in an amount determined vat trial
pursuant to 15 U_SaC. § 1681n(a)(1)(A) or, in the alternative, 15
U.S.C. § 16810(a)(1);

b. Punitive damages in an amount determined at trial
pursuant to 15 USS.C. § 1681n(a)(2);

c. Attorney's fees and costs incurred pursuant to 15
UiS.C9 § 1681n(a)(3) and/or 15 UQS.C. § 1681o(a)(2); and

d8 Any further relief deemed just and proper by the Courtn

Respectfully submitted,

DATED: February 13, 2015 1%»»4 %A7/Z;Z;////

CDEGO yf./ir MARCINSKI
Plaintiff, prg_ se

 

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CERTIFICATE OF MAILING

 

I, Gregory Ja Marcinski, hereby certify under penalty of
perjury that the foregoing Complaint was placed in the outgoing
mailbox for inmates at the Federal Correctional lnstitution in
Otisville, New York, in a properly addressed envelope with
sufficient first~class postage affixed thereon, for delivery to;

Office of the Clerk
United States District Court
312 Na Spring Street, Suite G-8
Los Angeles, CA 90012~4701

on February 13 , 2015.

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GHEGORY/J / MAR<:INSKI
Plaintiff, pro §§

 

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(HVH;COVERSHEET

ms 44 (Re.v. 12/01)

'I`he JS 44 civil cover sheet and the information contained herein neither re lace nor supplement the filing and service of_pleadings or other

by local rules of court This form, approved by the Judicial Conference 0 the United
the civil 1100ka Sheet. (SEE lNSTRUCTlONS ON THE REVERSE OF THE FORM. )

I. '(a) PLAINTIFFS

GREGORY Ji' MARCINSKI

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S. PLAINTIFF CASES)

Gregory J. Marcinsl<i ,

Ql'.`O SE

(C) At‘tomey S (Firm Name, Address, and Telcphone Number)
Reg. l\lo6 12582- 050. P.O.3 Box 1000
OtiSVille, NY 10963`*1000

Orange (NY)

tates m September 1974, is required for the use of

DEFENDANTS

Attomeys (If Known)

 

EXPERIAN INFORMATION SOLUTIONS,

County of Residence of First Listed Defendant

rnpapers as re uired by law, except as provided
c Clerk of ourt for the purpose of imtlatmg

INC.

 

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: lN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVBD.

 

II. BASIS OF JURISDICTION

U.S. Govemment y
Plaintiff

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ij 2 U.S. Govemment
Defendant ~

(Place an “X” in One Box Only)
ali Fecleral Question
(U.S. Govemment Not a Party)

D 4 Diversity
(!ndioate Citizcnship of Parties in Item III)

 

III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X" in One leox for Plaimifr

(For Diversity Cases Only) and Gne Box for Defendant)
I”I`F DEF PTF DEF
Citizen of Tl\is State 111 1 ij l Incorporated or Principal Place Cl 4 D 4
of Business 111 Tl\is State
Citizen of Another State El 2 ij 2 lncorporated and Principal Placc Cl 5 0 5
of Business ln Another State
Citizen or Subject cfa Cl 3 Foreign Na!ion |_IJ 6 D 6

Foreign Country

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D 120 Marine ij 310 Airplane [J 362 Personal Injury - Cl 620 Other Food & Drug Cl 423 Withdrawal ij 410 Antilrust `
D 130 Miller Act _ 0 315 Airplane Froduct Med. Malpracu`ce Cl 625 Drug Relatod Seizure 28 USC 157 13 430 Banks and Banking
0 140 Negotiable lnsl'rument Liability C'l 365 Personal Injuxy - of Property 21 USC 881 Cl 450 Commerce
[J 150 Recovery of Overpayment 0 320 Assault, Libel & Product Liability U 630 Liquor Laws Cl 460 Deportation
&Enforcement oi`Judgment Slander \‘_'1 368 Asbestos Personal Cl 640 R.K & Truck ij 820 Copyrights lj 470 Racketeer Influenoed and
D 151 Medicare Act 13 330 Federal Employers’ Injury Product C`.| 650 Airline Regs. 13 830 Patont Corrupt Organizations
D 152 Recovery ofDefaulted Liability Liability D 660 Oocupational 13 840 Trademark , § 480 Consumer Credit
Studenl Loans D 340 Marine PERSONAL PROPERTY Safely/Health ` D 490 Cable/Sal.' TV
` (Excl.` Veterans) D 345 Man'ne Product [J 370 Other Fraud ij 690 Other (J 810 Sclective Service,
D 153 Recovery of Overpayment Liability U 371 Tmth in Lencling ' ‘ ` " ’ \ . ~ ' = 1 ij 850 Securities/Conunodities/
of Veteran’s Benefits 0 350 Motor Vehicle Cl 380 Otl\cr Personal 5 710 Fair Labor Standards [`J 861 H!A (1395££) Exchange
ij 160 Stockholders‘ Suits D 355 Motor Vehicle Property Da.mage _Act ' D 862 Black Lung (923) ij 875 Customer Challenge
D 190 Other Coniract Product liability Cl 385 Property Damagc D 720 Labor/Mgmt. Relations l`_'l 863 DIWCIDIWW (405(g)) 12 USC 3410
l`J 195 Contract Product Liability CI 360 Othor Pcrsonal Product Liability CJ 730 Labor/Mgmt.Reporting CJ 864 SSID 'I`itle XVI Cl 890 Other Statutory Actions
96 Franchise 7 &Disclosure Act D 865 RSl 405 ; ij 891 Agriculmral Acts
l ~’ ` v a 1 ' ' :".i¢ ij 740 Railway Lahor Act ' z ` »: .> `f Cl 892 Eoonomic Stabilization Act
l‘_'} 210 Land Condernnation D 510 Motions to Vacaie l`_°l 790 Otl\er Labor Litigation ij 870 Taxes (Ll S Plaintiff ij 893 Environmental Matters
D 220 Foreclosure Cl 442 Employment Sentence Cl 791 Empl. Ret. Inc. or Defendant) ij 894 Energy Allocation Act
D 230 Rent Lease & Ejectment D 443 Housing/ Habeas Corpus: Secun'ty Act 0 871 IRS-Third Party Cl 895 Freedom of information
- D 240 Torts to Land Aocommodations 13 530 General 26 USC 7609 Act
0 245 Tort Product liability 1 Cl 444 Welfare U 535 Death Penalty § ~ ' … _ q 0 900Appeal of Fee Detemiination
Cl 290 All Other Real Property Cl 445 Amer. w/Disabiiities - El 540 Mandamus & Othor 13 462 Namralxz.atlon Appl\canon Under Equal Aocess
, Employment 13 550 Civil Rights [J 463 Habeas Corpus - to Justice
13 446 Amer. w/Disabilities - Cl 555 Prison Condition Alien Detainee ij 950 Constitutionality of
Cther ` [J 465 Other Imnugration State Statutes
El 440 Otl\er Civil Rights Actions -
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Proceeclmg State Court Appellate Courc Reopened §_pecify) litigation Jud£ment

 

VI. CAUSE OF ACTICN

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Brief description of cause:

 

Cite the U.S. Civi& Statu under which you are filing v(Do not cite jurisdictional statutes unless diversity):
15y 5 1681 '

Violations of the Fair Credit Reporting Act

 

 

 

 

 

 

VII. REQUESTED IN 111 cHEcK 1F THIS IS A cLAss AC'rIoN DEMAND $ CHECK YES only ifdem_§nded in <=Omplai“ff
COMPLAINT: UNDER F‘R~C~P- 23 JURY DEMAND= ix Yes El No
VIII. RELATED CASE(S) S _ _ _ ,
IF ANY ( °° ‘“‘““°“°“s)' JUDGE DocKET NUMBER
DATE SIGNA RE OF ATI`ORNEY OF RECOBD
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